               IN THE DISTRICT COURT OF THE UNITED STATES
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            ASHEVILLE DIVISION
                                1:12 cr 59-1


UNITED STATES OF AMERICA,             )
                                      )
Vs.                                   )                      ORDER
                                      )
CONNER WILLIAM GRAY.                  )
                                      )
______________________________________)

      THIS CAUSE coming on to be heard and being heard before the undersigned

at the close of a Rule 11 proceeding that was held before this court on October 19,

2012. At that time the Court presented the issue of whether or not Defendant should

be detained pursuant to 18 U.S.C. § 3143(a)(2). This matter further came before the

Court pursuant to a written Notice (#85) and oral motion made by counsel for

Defendant requesting that Defendant continue to be released on terms and conditions

of pretrial release pursuant to 18 U.S.C. § 3145(c). Defendant was present with his

attorney, Eric J. Foster and the government was present and represented through

Assistant United States Attorney David Thorneloe. From the arguments of counsel

for Defendant and the arguments of the Assistant United States Attorney and the

records in this cause, the Court makes the following findings:

      Findings.     On June 5, 2012 a bill of indictment was issued charging

Defendant with conspiracy to possess with intent to distribute a quantity of heroin, a

Schedule I controlled substance, in violation of 21 U.S.C. § 841(a)(1)and 846.       On



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October 19, 2012, the undersigned held and inquiry, pursuant to Rule 11 of the

Federal Rules of Criminal Procedure and accepted a plea of guilty of Defendant to that

crime. At the end of the Rule 11 proceeding, the Court presented the issue of whether

or not Defendant should now be detained, pursuant to 18 U.S.C. § 3143(a)(2).

      Discussion.     18 U.S.C. § 3143(a)(2) provides as follows:

      (2) The judicial officer shall order that a person who has been found
      guilty of an offense in a case described in subparagraph (A), (B), or (C)
      of subsection (f)(1) of section 3142 and is awaiting imposition or
      execution of sentence be detained unless ----

            (A)(i) the judicial officer finds there is a substantial likelihood that
      a motion for acquittal or new trial will be granted; or

             (ii) an attorney for the Government has recommended that no
             sentence of imprisonment be imposed on the person; or

             (B) the judicial officer finds by clear and convincing evidence that
             the person is not likely to flee or pose a danger to any other person
             or the community.

      From an examination of the records in this cause, it appears Defendant has now

entered a plea of guilty on October 19, 2012 to the crime of conspiracy to possess with

intent to distribute heroin, in violation of 21 U.S.C. § 841(a)(1) and 846. That crime

is one of the crimes that is referenced under 18 U.S.C. § 3142(f)(1)(C).                The

undersigned made an inquiry of Assistant United States Attorney David Thorneloe

as to whether or not there was going to be a recommendation that no sentence of

imprisonment be imposed upon the Defendant. Mr. Thorneloe advised the Court that

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such a recommendation could not be made in this matter. As a result of the plea of

guilty of Defendant, the undersigned cannot find there is a substantial likelihood that

a motion for acquittal or new trial will be granted. Based upon the statements of Mr.

Thorneloe, it appears that no attorney for the government has recommended or will

recommend that no sentence of imprisonment be imposed upon Defendant. It would

thus appear that the undersigned is required to apply the factors as set forth under 18

U.S.C. § 3143(a)(2) which require the detention of Defendant.

      Defendant’s counsel filed a written Notice (#85) of counsel’s intent to request

that the Court finds that exceptional reasons exist that would merit the continued

release of defendant, pursuant to 18 U.S.C. § 3145(c). That statute provides as

follows:

      (c) Appeal from a release or detention order.---
      An appeal from a release or detention order, or from a decision denying
      revocation or amendment of such an order, is governed by the provisions
      of section 1291 of title 28 and section 3731 of this title. The appeal shall
      be determined promptly. A person subject to detention pursuant to
      section 3143(a)(2) or (b)(2), and who meets the conditions of release set
      forth in section 3143(a)(1) or (b)(1), may be ordered released, under
      appropriate conditions, by the judicial officer, if it is clearly shown that
      there are exceptional reasons why such person’s detention would not be
      appropriate.

      In October 2009 United States District Judge Martin Reidinger instructed the

undersigned to conduct the exceptional circumstances determination as set forth by

the above referenced statute.

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      The definition of what constitutes exceptional circumstances is set forth in

United States v.Vilaiphone, 2009 WL 412958 (February 19, 2009 W.D.N.C.). In

Vilaiphone Judge Reidinger stated:

      Courts generally have defined “exceptional reasons” as circumstances
      which are “clearly out of the ordinary, uncommon, or rare.” See United
      States v. Larue, 478 F.3d 924, 926 (8t h Cir. 2007) (finding defendant’s
      compliance with terms of pretrial release, lack of criminal record,
      payment of child support, and continued employment were not
      exceptional reasons warranting release); United States v. Lea, 360 F.3d
      401, 403 (2d Cir. 2004) (“Exceptional circumstances exist where there
      is ‘a unique combination of circumstances giving rise to situations that
      are out of the ordinary.’”) (quoting United States v. DiSomma, 951 F.2d
      494, 497 *2d Cir. 1991)). T he fact that the Defendant has cooperated
      with the Government and has complied with the terms and conditions of
      his pretrial release do not constitute exceptional reasons warranting his
      continued release pending sentencing. See United States v. Little, 485
      F.3d 1210, 1211 (8t h Cir. 2007) (“It is not exceptional to expect every
      defendant to timely appear in court and to obey the court’s order
      concerning pretrial conditions of release. Nor it is clearly out of the
      ordinary, uncommon or rare for defendants to cooperate in the
      investigation of their criminal acts.”). Similarly, the Defendant’s lack of
      a significant criminal history and his gainful employment, while
      commendable, do not rise to the level of “exceptional reasons.” See Lea,
      360 F.3d at 403-04 (“There is nothing ‘exceptional about going to
      school, being employed, or being a first-time offender, either separately
      or in combination.”). Finally, while the Court is cognizant of the
      hardships that the Defendant’s detention will create for his immediate
      family, such hardships are common to nearly every case involving a term
      of imprisonment and thus do not qualify as “exceptional reasons” under
      § 3145(c). See United States v. Garcia, 340 F.3d 1013, 1022 (9t h Cir.
      2003) (“Hardships that commonly result from imprisonment do not meet
      the standard.”); United States v. Mahabir, 858 F.Supp 504, 508 (D.Md.
      1994)(“A defendant’s incarceration regularly creates difficulties for him
      and his family.        Courts have found that such purely personal
      considerations do not constitute exceptional reasons within the meaning
      of Section 3145(c).”)

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      At the hearing Defendant presented testimony to the Court which showed that

Defendant has spent a considerable period of time undergoing inpatient treatment for

substance abuse and now is undergoing outpatient treatment.        Defendant has been

diligent in his treatment and is working hard to become substance free for the

remainder of his life.     Further evidence was presented by Defendant through

Defendant’s father who testified that Defendant has worked hard in both inpatient and

outpatient treatment to successfully control his substance abuse addictions.

      The undersigned has compared the contentions of Defendant with the definition

of “exceptional circumstances” by Judge Reidinger as set forth in Vilaiphone. The

undersigned commends Defendant for his successful completion of inpatient and his

hard work in ongoing outpatient treatment to defeat his addiction. However, the

undersigned cannot find that the circumstances regarding Defendant are “clearly out

of the ordinary, uncommon, or rare.” The undersigned encounters many defendants

who attend both inpatient or outpatient substance abuse therapy and counseling and

work hard to become substance free.         The government, through Mr. Thorneloe,

objects to the continued release of Defendant. It is the government’s contention that

the circumstances regarding Defendant’s treatment do not meet the definition of

“exceptional circumstances.”     The undersigned agrees with the contention of the

government and cannot find that the treatment of Defendant constitute exceptional

circumstances as set forth in Vilaiphone.

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                                       ORDER

      IT IS, THEREFORE, ORDERED, that the terms and conditions of pretrial

release of the Defendant are hereby REVOKED and it is ORDERED the Defendant

be detained pending sentencing in this matter.



                                           Signed: November 6, 2012




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